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                                                         Exhibit A to the Complaint
Location: Waltham, MA                                                                                   IP Address: 71.192.209.227
Total Works Infringed: 33                                                                               ISP: Comcast Cable
 Work      Hashes                                                               UTC              Site          Published    Registered   Registration
 1         Info Hash: C587D7D844493811E67C3945D6E504448A44CB6D                          01-17-   Blacked       01-09-2023   01-27-2023   PA0002393075
           File Hash:                                                                     2023   Raw
           7B714CAD15B786523D93C122093E98271320F0BCEAB417C3CA9711C2300F1AB3           03:23:30
 2         Info Hash: 0DA52CD859D8BFB4CE9AEFB0241F8897218FC9BF                          01-17-   Blacked       01-14-2023   01-27-2023   PA0002393084
           File Hash:                                                                     2023   Raw
           3106FD3607D7FDFB170BF5EB5D3C039FAF5AB57C47C0133C5154E2B5AF1D8B62           03:22:43
 3         Info Hash: 57C6912A8C0A652DCA85A3C71BF6C3DEAF6ADA9D                          01-17-   Blacked       01-07-2023   01-27-2023   PA0002393078
           File Hash:                                                                     2023
           46DE425154E54C1154880B5A5814B542C2485F3870DC77DAA5A6781AC10D4A8D           03:20:50
 4         Info Hash: BAB0E5B328DD935698943D7C572BF63BFBB6C886                          01-17-   Blacked       01-14-2023   01-27-2023   PA0002393079
           File Hash:                                                                     2023
           C1DFAA775677D4FC02110E93275C748355482A4288E3F02CF19D14693A48FB43           03:20:17
 5         Info Hash: 8B78B77793A4284DD8647508DD3EDB99FC4C7A6E                          10-29-   Blacked       10-26-2022   11-01-2022   PA0002378070
           File Hash:                                                                     2022   Raw
           8381CC3932E3A99B26C1665F380DFFF62D13EA20F85A94C2D0B9ED4AE413B9B4           06:18:07
 6         Info Hash: C60686B993E19D6EA2BE4EAEF1099D09CA050695                          10-29-   Blacked       10-11-2022   10-31-2022   PA0002377831
           File Hash:                                                                     2022   Raw
           5F82A986E0E58A79427CD69AC4464B240C51401C3F3ADA1C57CE1272EA84CAC3           06:15:49
 7         Info Hash: 14460C9C14FBE2AF72199CDE5A44701F0B6EB02B                          10-29-   Blacked       06-11-2022   06-27-2022   PA0002355039
           File Hash:                                                                     2022
           9779F131A783314DD287D6DA26F1C5BFA145EBB837E040E4AB3D404A2925AA0F           06:13:23
 8         Info Hash: 192472959510175286E0731FB04278020BC47133                          10-29-   Blacked       10-22-2022   10-31-2022   PA0002377820
           File Hash:                                                                     2022
           0D6C6DE0F0C98545FBB3518F4880958D6F4B1877FB60D6AF0F9A11F223EB2BDD           05:56:48
 9         Info Hash: 81F168AE4D617B492ABE43FD31EB38D8A5B5BCA5                          10-22-   Blacked       10-16-2022   11-01-2022   PA0002378071
           File Hash:                                                                     2022   Raw
           B51FACD2FC56DAE63E9AC46634D88BB4CEE03E6887A99467095C8C6435C3F91C           03:16:49
 10        Info Hash: 42C52C418593792BC51AA3FA25382B3DAF6A53E4                          10-22-   Blacked       09-10-2022   10-05-2022   PA0002373949
           File Hash:                                                                     2022
           D23B08640253FEA80830649F24C6384FC7178C86E16C875E32B0ECB7DB975DDC           03:15:54
 11        Info Hash: 03B6BB24DA9C4E80EA798BFC2896AF206AD038C5                          10-22-   Blacked       10-15-2022   11-01-2022   PA0002378073
           File Hash:                                                                     2022
           7677CE41C30DA090BB1E8AA6B71C9C9171E5A8A7E333B829865B315804350A16           03:07:44
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Work   Hashes                                                             UTC         Site      Published    Registered   Registration
12     Info Hash: 3BC22005E2AFC76A838931DCA776BBA6A7235CD8                   10-22-   Blacked   10-08-2022   11-01-2022   PA0002378074
       File Hash:                                                              2022
       52978CFAE6E89E7576A6ACF227919E58FF957546FD0FBEF1FBECBE1294075FED    03:07:40
13     Info Hash: C6D89A14439B65845B858939EABB7075820E2B1D                   10-10-   Blacked   04-16-2022   04-23-2022   PA0002346424
       File Hash:                                                              2022
       34B237A6542B8BC5C3F37D109D74B20FCA2D704596C79193FF3BB53A62EB7F4B    00:52:16
14     Info Hash: D47E01E2CA5037A23C4261C7797EE76B7835A88E                   10-10-   Blacked   10-01-2022   10-31-2022   PA0002377811
       File Hash:                                                              2022   Raw
       A93CFA441DEEA9ACA5EFC97EA3735CEF22C1180174598230CB1F69A6900B005E    00:45:08
15     Info Hash: CED7880DF2AA6EF8109100E0EA980C41874622E8                   10-10-   Blacked   10-06-2022   11-01-2022   PA0002378072
       File Hash:                                                              2022   Raw
       D5B51EF2B39F4DED5C4AFA7960434E39FECAF22A9CF71C2786AC6ADBB07DD4E9    00:44:45
16     Info Hash: D70316B223A58E7A96123A8EB37CAE5DF0ACDB64                   10-10-   Blacked   02-05-2022   02-14-2022   PA0002335503
       File Hash:                                                              2022
       2AC3FEC454A28DC979BCAA5A0682B453AF715708C5FDA61F4DD3CF8718391E62    00:44:34
17     Info Hash: 258B938C8DB932BA26C6C13091AB699725DE4029                   10-10-   Blacked   10-01-2022   10-31-2022   PA0002377817
       File Hash:                                                              2022
       5021FA9F75FFAE5AE30C79FEAC33A1296CEFCE229F032576EBFCD9407D8DA664    00:43:06
18     Info Hash: 0C6C0C31980EB1B7FC0BD5D3BE2436167D73819D                   08-13-   Blacked   12-20-2021   01-17-2022   PA0002330107
       File Hash:                                                              2022   Raw
       F6D29449BE73E94125DD3E552A3091094642E5D41C9F7475AB8C868D0DC4C7C7    04:08:43
19     Info Hash: B5914DE7FC076F4B70CA7EC8D44009E18051C2FB                   08-13-   Blacked   10-30-2021   11-11-2021   PA0002321300
       File Hash:                                                              2022
       9E66B61434C8922F9832D50F9C49AB1E49F11C80E79615285C9C1216EAFACA90    04:07:18
20     Info Hash: 950CF322CAF29FE4D7BD1603C10F1CC81C7416E6                   08-13-   Blacked   08-01-2022   08-29-2022   PA0002367736
       File Hash:                                                              2022   Raw
       9C181FD2509B79ECD4AAD840F26DC90AB87C08C47AD22926DAF00FB732956FC5    03:43:54
21     Info Hash: A45135933D2916166CD81B774C59AB9D551ABFDD                   08-13-   Blacked   07-30-2022   08-30-2022   PA0002367742
       File Hash:                                                              2022
       5BB4FD9BB134B08DCB2F522421309D45E957B0FB1F8FDEAE7FB262B439168267    03:43:46
22     Info Hash: 216F45A59927B41DC23BEAF802AF3AC7E990BFF6                   08-13-   Blacked   08-06-2022   08-29-2022   PA0002367714
       File Hash:                                                              2022
       0225B45018AC75C00DD17C4293E6D0E5FC7E2566523D7538FFBAD0EFE1E4CC62    03:43:22
23     Info Hash: B6AB371E8975D0F0E93BB0B6CFB1A51B09F639FE                   08-13-   Blacked   08-08-2022   08-30-2022   PA0002367749
       File Hash:                                                              2022   Raw
       55CCFCCB97FF68646EE1B96022FDDE6D1CD6078D4780DD2C59D67E96D0BCD47B    03:42:13
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Work   Hashes                                                             UTC         Site      Published    Registered   Registration
24     Info Hash: 7C5664503A6507504F1DD34CF346C34C843E29E1                   07-30-   Blacked   06-18-2022   06-27-2022   PA0002355032
       File Hash:                                                              2022
       B4C3341D97F538C2E474C49482AE121A378BAB847204DD5013AD20E9BC5CBA8A    06:28:53
25     Info Hash: 1EBC2F20824E705567B4FEB68EA1D690FC5A6F4B                   07-30-   Blacked   07-02-2022   07-22-2022   PA0002359461
       File Hash:                                                              2022
       C32DD0741B507A98C3F6EB1698AA53CF4F01E6B2BEFD059F99C55E2B67451ED9    06:25:31
26     Info Hash: 71B373239AA21E0A2A1291498B72DC7BB0F06687                   07-30-   Blacked   05-16-2022   05-20-2022   PA0002350378
       File Hash:                                                              2022   Raw
       24688D83D2C2F0B22615DCA435E39CD808D05F274EB2804456F6E77AEFDCED83    06:03:11
27     Info Hash: BDC478B3399A146077FBE08EF9A6B73E770BCED9                   07-30-   Blacked   06-25-2022   07-22-2022   PA0002359471
       File Hash:                                                              2022
       A324B0DEA377CBC655B19BC9E32457684F1E0477064899BA8036545191AAE735    05:59:01
28     Info Hash: F0E6F9B4F59F388FA1B13469986C96FDD80EB501                   07-30-   Blacked   06-20-2022   08-10-2022   PA0002370905
       File Hash:                                                              2022   Raw
       00D09225B488C1FA22736D76C53E4D5A7F1D5A19658361F5036842447D490233    05:56:18
29     Info Hash: 1D44B95259442C3A9B0B9455C8C28A89AD369DE7                   07-30-   Blacked   07-25-2022   08-29-2022   PA0002367727
       File Hash:                                                              2022   Raw
       DF7B69C7949959ED563F5993AE5D903F8E7A90693CFE734430395BEB848221E5    05:56:04
30     Info Hash: 858E3DEA85EB18D5C627D295C9863730915C1184                   07-30-   Blacked   05-17-2019   07-05-2019   PA0002206002
       File Hash:                                                              2022   Raw
       B2B8F9FB9AE3E35B7CDC5C7CF9EE55B19D760DCAF518DF8C1E40F4411CF31778    05:54:55
31     Info Hash: 46857304ACE7F50BB0FA81A89D992DFD7234A063                   07-30-   Blacked   05-21-2022   06-27-2022   PA0002354986
       File Hash:                                                              2022
       E273352946EAC52115D1645E86441B060FD6CA129C923630923C5BFC08ABCBF2    05:52:41
32     Info Hash: AE7859A84B38AA3012FC54F8083DC7BB98EEA9CB                   07-30-   Blacked   07-09-2022   07-22-2022   PA0002359462
       File Hash:                                                              2022
       A8144653928B76356ECFE207ACB692A2DF407F16908E1A7C3BDC87A3E8829DE5    05:49:24
33     Info Hash: 2050D0595CE5CE49BF58E05FCFC07D94B3518567                   07-30-   Blacked   07-16-2022   07-22-2022   PA0002359474
       File Hash:                                                              2022
       68A380690E0D86D2B8C273C6DEAD56A98F5A34ED49D5E163E28FEB8F48A16271    05:47:43
